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                        UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF KENTUCKY
                              COVINGTON DIVISION

   IN RE:

   CHELSEA A. PIKE                                              CASE NO. 18-21627
   DEBTORS                                                      CHAPTER 7

               MOTION TO COMPEL PRODUCTION OF DOCUMENTS

                  Comes now L. Craig Kendrick, Trustee in Bankruptcy, and moves the

   Court for an Order directing the Debtor(s), CHELSEA A. PIKE, to provide the Trustee

   with a copy of the title to the 2015 Ford Escape within seven (7) days from the date of the

   Order. The Trustee has previously made multiple attempts to contact Debtors’ counsel,

   however to date the Debtor(s) has not provided the documentation.

          Without the documentation requested, the Trustee cannot properly administer this

   case. Therefore, the Trustee requests that the debtor(s) be compelled to provide the

   Trustee with the requested documentation.



                                                Respectfully submitted,

                                                /s/ L. Craig Kendrick
                                                L. Craig Kendrick
                                                Trustee in Bankruptcy
                                                7000 Houston Rd., Bldg. 300, Ste. 25
                                                Florence, KY 41042
                                                (859) 371-4321


                                           NOTICE

           All parties will take notice that the above referenced matter is hereby scheduled
   for a hearing on the 7th day of May, 2019 at the hour of 11:00 a.m. in the U.S.
   Bankruptcy Courtroom, U.S. Courthouse, 35 W. 5th Street, Room 306, 3rd Floor,
   Covington, Kentucky.
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                                     CERTIFICATION

           The undersigned hereby certifies that on this 10th day of April, 2019, a copy of
   the foregoing was served either by regular U.S. Mail postage prepaid or though electronic
   mail upon the following:

   United States Trustee
   ustpregion08.lx.ecf@usdoj.gov

   Chelsea A. Pike
   9542 Apple Valley Drive, Apt. 8
   Independence, KY 41051

   Dolores Dennery, Esq.
   dolores@dennerypllc.com
                                               /s/ L. Craig Kendrick
                                               L. Craig Kendrick
